                             UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                       Western Division
                                 Civil Case No. 5:19-cv-249-FI

 MATTHEW BRADLEY,
    Plaintiff
                                                           STIPULATION AND MOTION FOR
                                                         DISPOSITION OF ALL OUTSTANDING
 V.
                                                            CLAIMS AND COUNTERCLAIMS
                                                               [Fed. R. Civ. P. 41(a) and 54)
 ANALYTICAL GRAMMAR. INC.
     Defendant


        Plaintiff and Defendant, having conferred through counsel following the filing of

Defendant's motion for entry of judgment and for dismissal [D.E. 66], and bearing in mind the

Court's Order and Judgment entered on March 3, 2021 [D.E. 63 and 64], the relative value of the

claims at issue in this matter, and the interest of finality, stipulate as follows and request that the

Court enter judgment accordingly:


            1. Defendant's First Counterclaim, in which Defendant alleged invalidity of Plaintiff's

                copyright at issue, shall be and is dismissed with prejudice;

            2. As to all remaining claims and counterclaims, it shall be ordered that:

                    a. Defendant did not infringe the copyright asserted by Plaintiff in this litigation;

                         and

                    b. Defendant did not remove, alter, or falsify copyright management information

                         in connection with the photograph asserted by Plaintiff in this litigation.

            3. Final judgment shall be entered in accordance with the foregoing, leaving outstanding

                only the Court's decision on Defendant's motion for sanctions [D.E. 83].

            4. No further motions shall be filed in this case by either party against the other party.

                Except as may otherwise be ordered with respect to payments by Richard Liebowitz




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               and/or Liebo\, itz Law Firm, PLLC in the Court's decision on Defendant· s

               outstanding motion [D.E. 83], the parties shall bear their o,,n costs.


       As indicated by their signatures belO\\. the parties and their counsel consent to the foregoing.


This !.f_ day of July, 2021., 20th day of July, and 21st day of July, 2021.
      FOR PLAINTIFF:
                                                Isl Susan Frc,a Oli\e
      / 2 , ~ ~ ~ ~ a n Freya Olive
     //                                          NC Bar No. 7252
      Mat       J. Bradley, P     .             OLIVE & OLIVE, P.A.
                                                Coun el fo r Plaintiff
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      FOR DEFENDANT:
                                                I I Dan Booth
                                                Daniel G. Booth
                                                UAN BOOTH LAW LLC
      Analytical Grammar. Inc., Defendant       Counsel for DcfcnJ:mt,
      By: Erin Karl, President                    Local Ch ii Ruh: 83.1(~) Special Appearance

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                                                Christopher M. 1 homas
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                                                 Local Ci\'il Rule 83.l (c.J)

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                                 CERTIFICATE OF SERVICE

       Undersigned counsel for Plaintiff certifies that the foregoing document was served this date

by electronically filing the same with the Clerk of Court using the CM/ECF System, which will send

notification via electronic means to counsel for Defendant and to counsel for Mr. Liebowitz and

Liebowitz Law Firm, PLLC, on this 21st day of July, 2021.

                                                      /s/ Susan Freya Olive
                                                      Susan Freya Olive
                                                        NC Bar No. 7252
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